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                                 UNITED STATES DISTRICT COURT

                                       DISTRICT OF RHODE ISLAND


 JOHN DOE,
                          Plaintiff,

 v.                                                            C.A. NO.: 19-326-JJM-PAS

 PROVIDENCE COLLEGE,
                Defendant.


                                       DISMISSAL STIPULATION

            Plaintiff John Doe and Defendant Providence College stipulate that Plaintiff’s Complaint

 is dismissed without prejudice and without costs.



  JOHN DOE                                           PROVIDENCE COLLEGE
  By his Attorneys,                                  By its Attorney,

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